Case 7:23-cv-04533-CS Document 16-1 Filed 10/12/23 Page 1 of 10




               Exhibit A
         Employment Agreement
DocuSign Envelope ID: 0E4FBF8C-4173-4934-BA10-49E29041E40A
                      Case 7:23-cv-04533-CS Document 16-1 Filed 10/12/23 Page 2 of 10




                                        AT-WILL EMPLOYMENT AGREEMENT
                                   [ ☒ AMENDED 09/20/2022 (Orig. Agreement Date: 6/22/2010)]

            Employee Name (Hereafter referred to as “Employee”): James O'Keefe

            Employee Address: 151 Fenimore Road, Apt A-35, Mamaroneck, NY 10543

            Employee Phone No.:

            Employee Email Address:



            POSITION: CEO

            COMPENSATION: $430,920.00

            EMPLOYMENT START DATE: 6/22/2010


                    This At-Will Employment Agreement (the “Agreement”) is entered into as of the date all parties
            have signed it and is between Employee and Project Veritas (“Project Veritas”), with an address of 1214
            West Boston Post Road No 148, Mamaroneck, NY 10543.

                   In exchange for good and valuable consideration, receipt and sufficiency of which is hereby
            acknowledged, Employee and Project Veritas agree as follows:

            1.      RESPONSIBILITIES AND PERFORMANCE. Project Veritas hereby engages Employee’s
            services in connection with the production of investigative news stories (“News Stories”) and Employee
            hereby agrees to perform the duties and meet the responsibilities, duties, and obligations defined in this
            Agreement.

                     A. Employee’s job duties, responsibilities, and expectations are more fully described in the
                        position job description and employee handbook which may change from time to time. The
                        services to be rendered by Employee shall include all services usually and customarily
                        rendered by and required of persons employed in this capacity, and such other services as
                        may be required of Employee by Project Veritas from time to time.

                     B. Employee shall devote Employee’s full working time and attention and best efforts to the
                        performance of Employee’s job. Services shall be rendered, either alone or in collaboration
                        with others designated by Project Veritas, as, when and wherever required by Project Veritas.
                        Services shall be performed in an artistic, conscientious, efficient and punctual manner with full
                        regard to the careful, efficient, economical and expeditious production of the News Stories
                        within the budget and shooting schedule established by Project Veritas.

                     C. Project Veritas shall have the complete, final and unfettered control and approval of all
                        business, financial and creative aspects of, and decisions with respect to, the News Stories.

            2.       EMPLOYEE’S WARRANTIES: Employee warrants that:

                     A. By entering into this Agreement, Employee will not be in breach of or subject to any express
                        or implied terms of any contract with or other obligation to any third-party binding on
                        Employee, including, without limitation, any notice period or the provisions of any restrictive
                        covenants or confidentiality obligations arising out of any employment with any other
                        employer or former employer;

            Rev. 08/12/2022                                       1                            Employment Agreement
DocuSign Envelope ID: 0E4FBF8C-4173-4934-BA10-49E29041E40A
                      Case 7:23-cv-04533-CS Document 16-1 Filed 10/12/23 Page 3 of 10



                     B. Employee has not brought and will not bring or use any confidential documentation or
                        information from any other employer or former employer;

                     C. All of the information Employee has provided to Project Veritas and any third party acting
                        on behalf of it prior to the commencement of the Employment is to Employee’s knowledge
                        complete, true and up-to-date and no relevant information has been deliberately omitted;
                        and

                     D. Employee has the right to work in the United States. Employment is conditioned the ability
                        to provide satisfactory proof of eligibility to work in the United States within three days of
                        employment commencement.

            3.       COMPENSATION.

                     A. In exchange for performance of all of Employee’s obligations and job duties, Project Veritas
                        agrees to pay Employee and Employee agrees to accept as full compensation for all services
                        and obligations agreed to herein, and for all rights granted hereunder, compensation in the
                        amount defined above (“Employee’s salary”) Employee’s salary will be paid in accordance with
                        Project Veritas’s payroll policies and procedures as in effect from time to time.

                     B. Project Veritas may deduct and withhold from all compensation payable to Employee
                        hereunder all amounts required to be deducted or withheld pursuant to any law, statute,
                        ordinance,    order,  judgment     or  decree    now     or    hereafter   in   effect.

                     C. Employee will be classified as EXEMPT for purposes of the Fair Labor Standards Act and
                        comparable                                  state                                laws.

                     D. Nothing herein creates, nor shall it be construed to create any specific period of employment
                        or to entitle Employee to employment for any specific period of time.

            4.       AT-WILL EMPLOYMENT. The term of employment hereunder shall commence on or about the
            start date defined above as Project Veritas may elect, in Project Veritas’s sole discretion, and shall continue
            thereafter until terminated by Employee or Project Veritas. Notwithstanding anything contained herein to
            the contrary, Employee shall be an at-will employee in all respects. Project Veritas or Employee may
            terminate Employee’s employment at any time, for any reason, or for no reason, with or without notice.

            5.      CO-EMPLOYMENT ARRANGEMENT WITH ENGAGE PEO. Employee acknowledges and
            agrees that Project Veritas has established a co-employment arrangement with S2 HR Solutions 1A, LLC,
            known as Engage PEO (“Engage”), through which Engage provides certain payroll, human resource, tax,
            administrative and benefit-related services to Project Veritas and its employees, including making payroll
            payments directly to employees on behalf of Project Veritas. Employee agrees to provide cooperation to
            Engage when required to allow Engage to provide such services. However, unless specifically informed
            and/or instructed to the contrary by Project Veritas, Employee’s duty to perform Employee’s obligations
            under this Agreement shall be to Project Veritas, and Project Veritas shall have the right to direct, control,
            receive and retain all benefits of Employee’s work.

            6.       TRAVEL AND EXPENSE REIMBURSEMENT. Employee is solely responsible for all costs related
            to the Employee’s commute to/from Employee’s assigned Project Veritas office location, including lodging
            and meals while at that office location. Expenses incurred relating to approved travel to other offices or
            other approved work-related travel will be paid or reimbursed in accordance with Project Veritas’s policies
            in effect from time to time (as set forth in Project Veritas’s Employee Handbook).


            7.       PAID TIME OFF.

                     A. Paid Sick Leave: Employee is entitled to take up to 40 hours of paid sick leave under the Paid

            Rev. 08/12/2022                                       2                             Employment Agreement
DocuSign Envelope ID: 0E4FBF8C-4173-4934-BA10-49E29041E40A
                      Case 7:23-cv-04533-CS Document 16-1 Filed 10/12/23 Page 4 of 10



                         Sick Leave laws for the purposes more fully defined by law as specified in Project Veritas’
                         handbook. Paid sick leave is earned at the rate of 1 hour for every 30 hours worked and is
                         capped at 40 hours per year. Unused sick leave may carry over into the following year, but
                         Employee may not take more than 40 hours of leave in any calendar year pursuant to this
                         provision, and it is not paid out on termination. An employee may not be retaliated against for
                         taking this leave. Paid sick leave must be taken in increments of four (4) hours or more in any
                         single day. For purposes of determining the “year” that applies, the year is calculated by using
                         the calendar year.

                     B. Additional paid leave: In accordance with Project Veritas’s policies in effect from time to time
                        (as more fully set forth in Project Veritas’s Employee Handbook), provided Employee
                        consistently works thirty (30) or more hours a week, unlimited paid time off will be available to
                        full time employees commencing on the Employee’s thirty-first day of employment with Project
                        Veritas. Requests to use PTO are subject to management approval and may be denied for
                        any reason or no reason at all. Employee will not accrue PTO, and Project Veritas will owe
                        Employee no compensation at any time for any unused PTO unless such unused PTO was
                        accrued prior to May 31, 2020. In the event of an illness or other leave which falls within Paid
                        Sick Leave laws, Employee must first use all available Paid Sick Leave before using this
                        additional paid leave.

            8.       HEALTH INSURANCE. Project Veritas currently provides health insurance to employees who
            consistently work 30 or more hours a week and will continue to provide insurance in accordance with Project
            Veritas’s policies in effect at the time (as set forth in Project Veritas’s Employee Handbook). Project Veritas
            reserves the right to amend or terminate the Health Insurance Policy at its sole discretion.

            9.       NO OBLIGATION TO UTILIZE SERVICES. Although Project Veritas shall have the option to utilize
            Employee’s services and to advertise and promote the services, Project Veritas shall have no obligation to
            produce, release or distribute any News Story, or to continue the release and distribution of any News Story
            if released. How Project Veritas chooses to utilize the services is and will remain at its option in its sole
            discretion.

            10.   INTELLECTUAL PROPERTY, OWNERSHIP AND FULL AND COMPLETE GRANT OF RIGHT
            TO PROJECT VERITAS.

                     A. Project Veritas shall be the sole owner of any and all rights in and to the results and proceeds
                        of Employee’s services to Project Veritas, and it shall have the sole right to use, exploit,
                        advertise and exhibit the foregoing in any and all media, whether now known or hereafter
                        devised throughout the world, in all languages, as Project Veritas in its sole and unfettered
                        discretion shall determine. Employee agrees that anything created by Employee in connection
                        with the services Employee provides to Project Veritas shall belong exclusively to Project
                        Veritas, and not to Employee, including, but not limited to, any and all video, film, photographs,
                        negatives, video footage, images, renderings, audio video works, audio, recordings, multimedia
                        works, music, reproductions, performances, digital media works, still images and/or other
                        images or footage, documents, papers, writings (both published and unpublished), written work
                        product (including drafts), designs, inventions, patents, trademarks, copyrightable materials,
                        ideas, intellectual property, trade secrets, creative concepts, including all compilations,
                        collections, or other work product created within the scope of or in the course of Employee’s
                        employment with Project Veritas and Employee’s performance pursuant to this Agreement, and
                        derivatives thereof, and the like (“Work(s)”). Employee further hereby expressly agrees that
                        any and all Work(s) that are created in connection with the services Employee provides to
                        Project Veritas are specially commissioned and are and shall be deemed Work(s) Made for
                        Hire as that term is understood and enforceable under Copyright law. Employee hereby
                        expressly waives and hereby irrevocably transfers and assigns to Project Veritas all rights in
                        the Work(s), including but not limited to all rights under Section 203 of the Copyright Act
                        together with any “artist’s rights” and/or “moral rights” that Employee might otherwise have in
                        the Work(s). To the extent that a question arises about whether Project Veritas owns in its

            Rev. 08/12/2022                                       3                             Employment Agreement
DocuSign Envelope ID: 0E4FBF8C-4173-4934-BA10-49E29041E40A
                      Case 7:23-cv-04533-CS Document 16-1 Filed 10/12/23 Page 5 of 10



                         entirety any Work(s) (including whether the Work(s) are Made for Hire), Employee hereby
                         expressly and irrevocably sells, transfers, and assigns to Project Veritas, all right, title, and
                         interest in and to such Work(s) in consideration for the consideration paid to Employee
                         hereunder. Employee further expressly and irrevocably grants to Project Veritas a worldwide,
                         perpetual, exclusive license for the Work(s) from now until the end of time to use, print,
                         reproduce, distribute, perform, rent, loan, edit, modify, publish, display, transfer, sell, assign,
                         create derivative works from and/or based upon, and/or license to others, in any manner, form,
                         or media now known or hereafter invented as Project Veritas so chooses in Project Veritas’s
                         sole and complete discretion. Employee agrees that on Project Veritas’s request, that
                         Employee will execute any documents necessary or advisable in the opinion of Project Veritas
                         to direct issuance of patents or copyrights to Project Veritas, the expense of securing any such
                         patent or copyright, to be borne by Project Veritas.

                     B. Project Veritas shall also have the right to add to, subtract from, change, arrange, revise, adapt,
                        rearrange, and make variations of any Work(s), and to translate the Work(s) into any and all
                        languages and/or formats, change the sequence, change the characters and the descriptions
                        thereof, change the title of the Work(s), record and photograph the Work(s) with or without
                        sound (including spoken words, dialogue and music synchronously recorded), use the title of
                        any Work(s) or any of their components in connection with works or motion pictures wholly or
                        partially independent thereof, to vend, copy and publish the same as Project Veritas may
                        desire, and to use all or any part thereof in new versions, adaptations and sequels in any and
                        all languages, and to obtain copyright therein throughout the world; and Employee does hereby
                        assign and transfer to Project Veritas all of the foregoing without reservation, condition or
                        limitations and no right of any kind, nature or description is reserved by Employee. All rights
                        granted to Project Veritas hereunder shall vest in Project Veritas immediately and shall remain
                        vested whether this Agreement expires in normal course or is terminated for any cause or
                        reason by either party. Employee acknowledges and agrees that the Work(s) may, at Project
                        Veritas’s sole discretion, be registered for copyright in Project Veritas’s name both in the United
                        States and elsewhere and that Employee hereby waives any and all rights to register for
                        copyright any Work(s). All commercial recording rights and the proceeds thereof relating to the
                        Work(s) shall be owned and controlled by Project Veritas, and all merchandising and publishing
                        rights in connection with the Work(s) and any News Stories and the proceeds thereof shall be
                        owned and controlled by Project Veritas.

            11.     CONFIDENTIAL INFORMATION. Employee acknowledges and agrees that all information from
            whatever source which Employee learns or with which Employee otherwise comes into contact as a result
            of Employee’s employment by, or work for Project Veritas, concerning in any manner whatsoever any
            aspect of Project Veritas, its business, employees, independent contractors or volunteers shall be
            considered     confidential    and      proprietary   information    (“Confidential    Information”).

                     A. Confidential Information shall include, but not be limited to, the terms of this Agreement,
                        information regarding projects and potential projects, organizational practices, donors and
                        potential donors, management, management philosophy, information concerning Project
                        Veritas’s employees, contractors, volunteers, sources, methodologies, the targets, subjects or
                        subject matter of any actual or proposed investigation or News Stories, equipment, techniques,
                        technology, software, designs, concepts, drawings, ideas, inventions, experiments, personnel
                        records, specifications, investigations, techniques, models, data, research, development,
                        processes, procedures, know-how, formulas, patterns, devices, compilations, product and
                        pricing information, marketing plans and materials, discussions, timetables, trade secrets, trade
                        names and applications, trademarks and applications, customer names, financial information,
                        and the terms and conditions of this Agreement and the terms and conditions of any business,
                        investigatory or reporting relationship, or any other agreement between Project Veritas and
                        Employee or any other Project Veritas employee, contractor or vendor or any third party.
                        Confidential Information shall not include information that has become publicly known without
                        Employee’s                 breach                of                this              Agreement.


            Rev. 08/12/2022                                        4                             Employment Agreement
DocuSign Envelope ID: 0E4FBF8C-4173-4934-BA10-49E29041E40A
                      Case 7:23-cv-04533-CS Document 16-1 Filed 10/12/23 Page 6 of 10



                     B. Employee agrees that all Confidential Information shall be maintained by Employee in the
                        highest confidence and that Employee shall never disclose Confidential Information without the
                        prior written consent of Project Veritas, and Employee acknowledges that Employee’s
                        agreement to do so is a prerequisite to Employee’s engagement by Project Veritas, and to
                        Project Veritas’s obligation to pay the consideration provided for herein.

                     C. Employee further agrees that Employee will not engage in any form of investment activity, the
                        purchase or sale of any securities, or any other securities-related transaction or activity utilizing
                        or   based      upon     any      Confidential     Information     obtained     by      Employee.

                     D. Employee expressly agrees that the terms of this paragraph shall survive after the conclusion
                        of Employee’s employment with Project Veritas and/or the expiration or termination of this
                        Agreement, and that after leaving employment with Project Veritas, in addition to all other
                        obligations hereunder, Employee will not disclose to any person or entity, or seek from any
                        current or former Project Veritas employee, contractor or vendor, any Confidential Information.

                     E. Nothing in this Agreement, shall prevent Employee from disclosing Confidential Information: (i)
                        to the extent required by law, rule or regulation; (ii) in response to a subpoena or other valid
                        legal process; (iii) with the prior written consent of Project Veritas; (iv) to the extent necessary
                        to enforce any provision of this Agreement, provided that Employee shall endeavor to file any
                        such information under seal; (v) as protected by law (including engaging in concerted activity
                        under the National Labor Relations Act for mutual aid and protection ("NLRA Rights")); or (vi)
                        if such information becomes publicly available other than from disclosure by Employee or
                        anyone acting in concert; provided that, under subsections (i) and (ii), where not prohibited by
                        law, Employee agrees to provide Project Veritas with advance notice of disclosure. Nothing
                        limits Employee’s ability to disclose Confidential Information or factual information to any
                        federal, state, or local governmental agency, commission or body, including law enforcement
                        agencies, the Equal Employment Opportunity Commission, any state or local human rights
                        commission, the National Labor Relations Board, the Occupational Safety and Health
                        Administration, and the Securities and Exchange Commission or self-regulatory organization
                        or otherwise participate in any investigation or proceeding that may be conducted by any
                        Governmental Agency or self-regulatory organization, or to disclose factual information to an
                        attorney retained by Employee for the purposes of seeking legal advice regarding employment
                        or the termination thereof. In all cases, Employee agrees to take all reasonable steps to protect
                        the confidentiality of any information disclosed, including seeking confidential treatment by the
                        relevant body, as applicable. Further, nothing in this Agreement constitutes a waiver of Project
                        Veritas’s attorney-client, work product or other applicable privileges, and to the extent
                        Employee is in possession of any information protected by such privileges, nothing herein
                        authorizes Employee to disclose such privileged information to any third party.

                     F. To the extent provided under applicable law, an individual shall not be held criminally or civilly
                        liable for the disclosure of a trade secret that is made (i) in confidence to a federal, state, or
                        local government official, either directly or indirectly, or to an attorney and solely for the purpose
                        of reporting or investigating a suspected violation of law, or (ii) in a complaint or other document
                        filed in a lawsuit or other proceeding, if such filing is made under seal. Further, an individual
                        who files a lawsuit for retaliation by an employer for reporting a suspected violation of law may
                        disclose the trade secret to the attorney of the individual and use the trade secret information
                        in the court proceeding, if the individual files any document containing the trade secret under
                        seal; and does not disclose the trade secret, except pursuant to court order.


            12.     NON-DISPARAGEMENT. Employee warrants and agrees that during and after Employee’s
            employment, Employee shall not, directly or indirectly, make any disparaging statements or other negative
            remarks, written or oral, about Project Veritas, or any of its directors, officers, employees, contractors,
            donors, agents, attorneys or representatives, Employee’s employment by Project Veritas, the subject


            Rev. 08/12/2022                                         5                             Employment Agreement
DocuSign Envelope ID: 0E4FBF8C-4173-4934-BA10-49E29041E40A
                      Case 7:23-cv-04533-CS Document 16-1 Filed 10/12/23 Page 7 of 10



            matter of this Agreement, any Work(s) or News Stories, or the services rendered by Employee or others in
            connection with any Work(s) or News Stories.

            13.     LIQUIDATED DAMAGES. Employee further acknowledges and agrees that the amount of
            damages to Project Veritas in the event of a breach by Employee of any of non-disclosure and/or non-
            disparagement provisions of this Agreement would be difficult to calculate and that $100,000 is a
            reasonable measure of the actual damages that are probable, and that Project Veritas shall be entitled to
            an award of liquidated damages in such amount for each such breach unless actual damages in an amount
            in excess of $100,000 can be proven by Project Veritas.

            14.      NO RIGHT OF ATTRIBUTION OR CREDIT AND RELEASE.
                       A. Employee authorizes and gives permission to Project Veritas to use without further
                          consideration or additional authorization at all times and for any and all purposes Employee’s
                          image, written material, recordings, name, artwork, and biographical information. Employee
                          hereby releases Project Veritas its affiliates, subsidiaries, associates, successors and
                          assigns, and officers, directors, employees, representatives, agencies and licensees, from
                          any and all liability in connection with any use of this information. Project Veritas shall not be
                          required to make payment to Employee if Project Veritas uses Employee’s name and
                          likeness or any material produced by Employee for Project Veritas pursuant to this
                          Agreement.
                       B. Project Veritas shall have the right but not the obligation to use and license the use of
                          Employee’s name, personal information, image, sobriquet, photograph, likeness, voice,
                          signature and/or caricature (collectively referred to herein as “name and likeness”) and any
                          and all other information about or concerning Employee in connection with this Agreement,
                          the work and services performed by Employee pursuant to this Agreement, and/or the work
                          and services performed in any respect or for Project Veritas. However, Employee forever
                          and unconditionally waives and releases Employee’s moral or other right to attribution, to
                          publish or to the integrity in any work or services Employee provides to Project Veritas.

             15.     PROHIBITED OUTSIDE ACTIVITIES. During Employee’s employment, Employee shall not
            engage in any activity, whether as an employee, contractor, volunteer or in any other capacity for any
            person or entity other than Project Veritas that will or is likely to (i) hinder, interfere with, or prevent
            Employee from devoting Employee’s full time and attention and best efforts to Employee’s work for Project
            Veritas; (ii) hinder, interfere with, or prevent Employee from fully and properly performing Employee’s job
            responsibilities as assigned to Employee from time to time by Project Veritas; or (iii) give rise to an actual
            conflict of interest or the appearance of a conflict of interest with Project Veritas and/or its mission or work
            (any such activity, “Prohibited Outside Activity”) without the express written approval by the CEO of Project
            Veritas. All potential conflicts must promptly be disclosed to management.

            16.     NON-SOLICITATION OF PROJECT VERITAS EMPLOYEES OR CONTRACTORS. Employee
            warrants and agrees that, during Employee’s employment and for a period of twelve (12) months after the
            termination of Employee’s employment with Project Veritas, Employee will not, directly or indirectly,
            individually or in any other capacity solicit, offer employment, employ, or interfere with any Project Veritas
            employee or contractor, or other person or entity that was a Project Veritas employee or contractor within
            the twelve (12) months immediately prior to the termination of Employee’s employment with Project Veritas,
            to cease working for or providing services to Project Veritas.

            17.      NON-SOLICITATION OF PROJECT VERITAS DONORS. Employee warrants and agrees that
            during and after Employee’s employment, Employee shall not contact, solicit or otherwise communicate
            with any person or entity that is a donor or prospective donor to Project Veritas whom Employee learns of
            or with whom Employee otherwise comes into contact as a result of Employee’s employment by, or work
            for Project Veritas.

            18.     NO RIGHT TO BIND PROJECT VERITAS. Employee acknowledges and agrees that, unless
            authorized in advance, in writing, by Project Veritas, Employee has no right or authority to bind Project


            Rev. 08/12/2022                                        6                             Employment Agreement
DocuSign Envelope ID: 0E4FBF8C-4173-4934-BA10-49E29041E40A
                      Case 7:23-cv-04533-CS Document 16-1 Filed 10/12/23 Page 8 of 10



            Veritas, and that Employee will not purport to enter into any agreements for Project Veritas or on Project
            Veritas’s behalf.


            19.      WARRANTIES RELATED TO CREATED MATERIAL. Employee hereby warrants and agrees
            that all material, works, writing, ideas, or dialogue written, composed, prepared, submitted, contributed or
            interpolated by Employee in connection with the News Stories or their preparation or production, shall be
            wholly original with Employee or in the public domain throughout the world, and shall not be copied in whole
            or in part from any other work, except that submitted to Employee by Project Veritas as a basis for such
            material. Employee further warrants that neither the material nor any part thereof will violate the rights of
            privacy or constitute a libel or slander against any person, firm, or corporation, and that the material will not
            infringe upon the copyright, trademark, literary, dramatic or photoplay rights of any person or right of privacy
            of any person or company.

            20.       NON-DISCLOSURE OF INFORMATION REGARDING POLITICAL CAMPAIGNS AND
            CANDIDATE ADVOCACY GROUPS. Unless directed by Project Veritas in the course of Employee’s
            employment, Employee agrees and warrants that Employee will not share with Project Veritas or any of its
            officers, directors, employees, contractors, agents or affiliates, or use in Employee’s employment by or work
            for Project Veritas, any non-public information obtained by Employee from any source regarding any
            political campaign or any individual, entity or organization involved in advocating for political candidates.

            21.       APPLICATION TO CERTAIN OTHER ENTITIES. Employee acknowledges and agrees that
            Project Veritas at times provides services to certain other entities, including, but not limited to, Project
            Veritas Action Fund, with respect to, among other things, undercover investigations and reporting, and
            audio and video editing and production. Employee acknowledges and agrees that Employee’s
            acknowledgements, agreements, warranties and obligations set forth herein also apply to any such other
            entities.

            22.      RETURN OF ORGANIZATION PROPERTY. Employee warrants and agrees that upon termination
            of Employee’s employment, Employee shall return any and all Project Veritas property of any kind,
            including, but not limited to, any computers and other electronic devices, recording and communication
            devices, documents and information (whether in hard copy or electronic and not keep any copies), software
            or applications, and any work product (whether completed or incomplete) in the same condition in which it
            was received by Employee, reasonable wear and tear excepted.

            23.      DISPUTE RESOLUTION. CHOICE OF LAW. VENUE. REMEDIES.

                     A. Except as otherwise provided, all disputes, controversies, or claims arising out of or relating to
                        this Agreement or any alleged breach hereof shall be submitted to mandatory and binding
                        confidential arbitration before, and in accordance with the then-applicable rules of the American
                        Arbitration Association (“AAA”) in either Westchester or New York County, New York.
                        Employee recognizes that by signing this Agreement, Employee is giving up any rights
                        Employee may have had to a trial by jury. To the extent permitted by applicable law, the parties
                        hereto agree to share equally the costs of the selected arbitrator(s) and any AAA costs. The
                        prevailing party in such arbitration shall be entitled to the recovery of that party’s reasonable
                        attorneys’ fees and the costs of arbitration from the non-prevailing party.

                     B. All disputes, controversies, or claims arising under or relating to this Agreement or any alleged
                        breach hereof shall be governed by the laws of the State of New York without regard to its
                        choice of law principles. Subject to the below, Employee hereby irrevocably consents to the
                        exclusive jurisdiction of the State and Federal courts located in Westchester or New York
                        County, New York, to stay, confirm, modify or vacate any arbitration award.
                        Employee expressly agrees that due to the nature of the obligations to Employee by Project
                        Veritas under this Agreement, no breach by Project Veritas will cause Employee irreparable
                        harm or otherwise entitle Employee to injunctive or other equitable relief to terminate or rescind
                        this Agreement, to avoid the restrictions on Employee’s conduct contained herein, to enjoin

            Rev. 08/12/2022                                        7                              Employment Agreement
DocuSign Envelope ID: 0E4FBF8C-4173-4934-BA10-49E29041E40A
                      Case 7:23-cv-04533-CS Document 16-1 Filed 10/12/23 Page 9 of 10



                         Project Veritas’s use of the results and proceeds of Employee’s services hereunder, or to
                         restrain the use, exhibition or exploitation of any Work(s) or News Stories. Employee
                         recognizes that the actual or threatened breach of Employee’s restrictions and obligations
                         contained herein will result in irreparable harm to Project Veritas and that, notwithstanding
                         anything herein to the contrary, Project Veritas may seek a preliminary and/or final injunction,
                         either in court or from the AAA to enforce those restrictions and obligations or to restrain any
                         actual or threatened breach of those restrictions and obligations, in addition to any and all
                         additional remedies available at law. Should Project Veritas obtain a preliminary or final
                         injunction in any court or from the AAA, then, to the extent permitted by applicable law,
                         Employee shall then immediately become liable to pay the attorneys’ fees and costs incurred
                         by Project Veritas to obtain the injunction.

                     D. To the fullest extent permitted by law, Employee acknowledges and agrees that no class or
                        collective actions can be asserted in arbitration, court or otherwise (class action waiver) for any
                        matters relating to my employment relationship with Project Veritas. This class action waiver
                        precludes any party from participating in or being represented in any class or representative
                        action regarding a claim relating to my employment relationship with Project Veritas. However,
                        if under applicable law a representative claim under state law is deemed un-waivable and such
                        an action is pursued in court, Employee agrees that any such representative claim will be
                        severed and stayed pending resolution of claims that are arbitrable. This clause, any arbitration
                        proceedings and pleadings, motions, evidence, and/or outcome of such proceedings shall
                        remain confidential.

            24.     WAIVER. The waiver by either party or any breach of this Agreement shall not constitute a waiver
            of any subsequent breach. Any waiver must be in writing to be effective.

            25.     NOTICES. All notices pursuant to this Agreement shall be delivered in person, via nationally
            recognized overnight carrier, or via e-mail, addressed as follows:

                     A. If to Employee: See Employee Contact Information Above

                     B. If to Project Veritas: Human Resources Director, Project Veritas 1214 West Boston Post Road
                        No 148, Mamaroneck, NY 10543 and HRDirector@ProjectVeritas.com; a courtesy copy shall
                        be sent to James O’Keefe, President at the same address and James@ProjectVeritas.com.

            The contact information for a party to receive notice may be changed from at any time by any party by
            giving notice of such change in writing.

            26.      CONSTRUCTION. SURVIVAL: When construing this Agreement, it shall be deemed to have been
            fully negotiated between parties of equal bargaining power and it shall not be construed against any party
            as the drafter of the Agreement, or considered a contract of adhesion. Employee expressly agrees that the
            terms of this Agreement shall survive after the conclusion of Employee’s employment with Project Veritas
            and/or the expiration or termination of this Agreement.

            27.      ENTIRE AGREEMENT: This Agreement, together with the Employee Handbook and company
            policies, contains the entire agreement between the parties with respect to the subject matter of this
            Agreement, and supersedes all prior negotiations, representations, agreements and understandings with
            respect thereto whether in writing, oral, or otherwise. Employee acknowledges that no representation or
            promise not expressly contained in this Agreement has been made by Project Veritas or any of Project
            Veritas’s agents, employees or representatives.

            28.      AMENDMENT: This Agreement cannot be modified, supplemented or amended except by a
            written instrument executed by the parties hereto except that employee’s title, compensation, duties,
            supervisor, benefits and other such terms of this agreement may be changed from time to time by Project
            Veritas via written notice including, but not limited to, letters, emails, memos, messages, annual reviews,
            or such other writing as deemed appropriate by Project Veritas. Employee will be deemed to have accepted

            Rev. 08/12/2022                                        8                            Employment Agreement
DocuSign Envelope ID: 0E4FBF8C-4173-4934-BA10-49E29041E40A
                     Case 7:23-cv-04533-CS Document 16-1 Filed 10/12/23 Page 10 of 10



            such changes if employee opts to continue his/her employment with Project Veritas after Project Veritas
            has sent such written notice to the Employee.

            29.     SEVERABILITY: In the event any provision of this Agreement is deemed to be void, invalid, or
            unenforceable, that provision shall be modified, if permissible, or severed from the remainder of this
            Agreement so as not to cause the invalidity or unenforceability of the remainder of this Agreement. All
            remaining provisions of this Agreement shall then continue in full force and effect. If any provision shall be
            deemed invalid due to its scope or breadth, such provision shall be deemed valid to the extent of the scope
            and breadth permitted by law.

            30.      INTENT TO BE BOUND: Employee acknowledges and agrees that Employee has had ample
            opportunity to consult with an attorney of Employee’s choice before affixing Employee’s signature below
            indicating Employee’s unequivocal intent to be bound by the terms of this Agreement.

            A copy of a signature is deemed to have the same legal effect as an original signature and this Agreement
            may be signed in counterparts which, when taken together, shall constitute the entire, executed agreement.

            By signing in the spaces provided below, Employee and Project Veritas accept and agree to all the terms
            and conditions of this Agreement.

            IN WITNESS WHEREOF, the parties hereto have executed this Agreement on the dates indicated below.

            EMPLOYEE
                                                                                      9/30/2022
            Signature:       ______________________________                    Date: _____________________
                              James O'Keefe
            Print Name:      ______________________________


            PROJECT VERITAS
                                                                                      9/30/2022
            Signature:       ______________________________                    Date: _____________________
                             John Sullivan
            Print Name:      ______________________________
                              General Counsel & CCO
            Title:           ______________________________




            Rev. 08/12/2022                                       9                            Employment Agreement
